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 8
     REACHLOCAL, INC.
 9
10                       UNITED STATES DISTRICT COURT
11
         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
12
13   REACHLOCAL, INC., a Delaware            Case No. 2:16-cv-01007-R-AJW
     corporation,
14
                                             Judge: Hon. Manuel L. Real
15               Plaintiff,
16                                           REACHLOCAL INC.’S NOTICE
                 v.                          OF MOTION AND MOTION FOR
17                                           DEFAULT JUDGMENT
18   PPC CLAIM LIMITED, a British limited
     company; KIERAN PAUL CASSIDY,        [Filed concurrently: Declarations of Jill
19   an individual; and DOES 1-50,        Glennon and Tenlay Naliboff; Request
20                                        for Judicial Notice]
21                Defendants.
                                          Date: June 17, 2019
22                                        Time: 10:00 a.m.
23                                        Courtroom: 880
24
25
26
27
28
                      NOTICE OF AND MOTION FOR DEFAULT JUDGMENT
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 1        TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
 2   RECORD:
 3        PLEASE TAKE NOTICE that on June 17, 2019 at 10:00 a.m., or as soon
 4   after as the matter may be heard, Plaintiff ReachLocal, Inc. (“ReachLocal”) will
 5   move before the Honorable Manuel L. Real, in Courtroom 880 of the above-
 6   entitled court, located at 255 East Temple Street, Los Angeles, CA, 90012, for
 7   default judgment pursuant to Federal Rule of Civil Procedure 55(b)(2) against
 8   Defendants Kieran Paul Cassidy (“Cassidy”) and PPC Claim Limited (“PPC
 9   Claim” and together with Cassidy, “Defendants”), finding Defendants liable on
10   all claims, permanently enjoining Defendants from engaging in the conduct
11   proscribed by the preliminary injunction granted by this Court, awarding
12   compensatory damages and attorneys’ fees and declaring Cassidy in violation of
13   the order of the British Insolvency Service.
14        This motion is based on the facts and argument set forth in the
15   accompanying memorandum below, the declarations of Jill Glennon and Tenlay
16   Naliboff, the Request for Judicial Notice, all pleadings and papers on file in this
17   action, and such further evidence and argument as may be presented at or before
18   the hearing in this matter.
19
20
21   Dated: May 10, 2019                    BROWN NERI SMITH & KHAN, LLP
22
23                                          By:     /s/ Amjad M. Khan
                                                    Amjad M. Khan
24
25                                          Attorneys for Plaintiff,
26                                          ReachLocal, Inc.

27
28
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                MEMORANDUM OF POINTS AND AUTHORITIES
 1   I.   INTRODUCTION
 2         Plaintiff ReachLocal, Inc. (“ReachLocal”) moves for Default Judgment
 3   (“Motion”) after Defendants PPC Claim Limited (“PPC Claim”) and Kieran Paul
 4   Cassidy (collectively, “Defendants”), having engaged in a costly scorched earth
 5   litigation strategy for many months, entirely abandoned their defense to
 6   ReachLocal’s Amended Complaint for (1) trade secret misappropriation, (2)
 7   intentional interference with contractual relations, (3) intentional interference
 8   with prospective economic advantage, (4) violation of California business and
 9   professions code § 17200, (5) attempted extortion and (6) declaratory relief.
10         The Ninth Circuit identified six factors for the Court to consider in
11   determining whether to exercise its discretion under Federal Rule of Civil
12   Procedure 55(b)(2) to grant default judgment. Eitel v. McCool, 782 F.2d 1470,
13   1471-72 (9th Cir. 1986). All six of those so-called “Eitel factors” weigh in
14   ReachLocal’s favor where: (1) ReachLocal would be seriously prejudiced if this
15   Court does not intervene, (2) ReachLocal’s substantive claims are meritorious as
16   demonstrated by the allegations in the Complaint, the evidence of record and the
17   preliminary injunctions granted by this Court and the Court of Appeals, (3) the
18   causes of action are sufficiently pled in that each element of ReachLocal’s claims
19   is alleged in the Amended Complaint, (4) the sum of money and the injunctive
20   relief requested is reasonable in light of the Defendants’ misconduct, (5) the
21   possibility of a dispute concerning material facts is low where the parties fully
22   briefed two substantive motions that were under submission when default was
23   entered, (6) Defendants’ failure to appear is not the result of excusable neglect,
24   and (7) the strong policy favoring decisions on the merits does not favor
25   Defendants, where they abandoned briefed motions for summary judgment and
26   Rule 11 sanctions, rather than resolving them.
27         ReachLocal hereby requests that Defendants be adjudged liable on each of
28   ReachLocal’s claims, that the preliminary injunction be made permanent, that
                      MEMORANDUM OF POINTS AND AUTHORITIES
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 1   ReachLocal be awarded monetary damages in the amount of its lost profits and the
 2   value of the resources ReachLocal devoted to respond internally and externally to
 3   Defendants’ misconduct, that this Court declare Cassidy in violation of the British
 4   Insolvency Service order disqualifying him from acting as a director of PPC Claim
 5   and for the award of ReachLocal’s attorneys’ fees.
 6   II.   RELEVANT BACKGROUND FACTS1
 7         A.     Defendants Contacted ReachLocal’s CEO, Claimed they had
 8                ReachLocal’s Client Database and Carried Out Their Threat to
                  Use the Database to Disrupt ReachLocal’s Business.
 9
10         ReachLocal’s history with Defendants in the U.K. was the backdrop for the
11   events giving rise to this litigation. ReachLocal first learned of Defendants through
12   their attempts to build and then settle class action claims against ReachLocal’s U.K.
13   subsidiary. Declaration of Jill Glennon in Support of ReachLocal’s Motion
14   (“Glennon Decl.”) Ex. A, p. 3 (¶ 7), Ex. I, p. 6 (¶ 18) and pp. 46-48 (110:117-
15   111:24).2 When those claims did not result in a big payday for Defendants, they
16   turned their attention to ReachLocal’s U.S., German and Australian markets.
17   Towards the end of 2015, PPC claim posted a comment to an article about
18   ReachLocal on streetfightmag.com, writing: “we have the entire list of
19   [ReachLocal] clients and will be starting a campaign in January to inform them of
20   what is happening to their budgets.” Glennon Decl. L, p. 2 (¶ 3) and p.11 (emphasis
21   added). Less than one month later, Cassidy wrote to ReachLocal’s CEO, Sharon
22   Rowlands, repeating the same threat:
23
24   1
       In making its decision, the court takes all factual allegations in the complaint,
25   except those relating to damages, as true. TeleVideo Sys., Inc. v. Heidenthal, 826
26   F.2d 915, 917-18 (9th Cir. 1987) (citing Geddes v. United Fin. Grp., 559 F.2d 557,
     560 (9th Cir. 1977)).
27   2
       ReachLocal has only provided excerpts from the record that are cited by this
28   Motion for brevity. ReachLocal is requesting judicial notice of those entire records
     cited, which are on the docket and may provide the Court additional context. Where
     applicable, ReachLocal also provides cross-references to the seal docket.
                       MEMORANDUM OF POINTS AND AUTHORITIES
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        “Sharon, You have until the end of the week to come back to me, I remain
 1      open to meeting you in person to see if we can come to an arrangement/
        agreement. I have the entire reachlocal [sic] client and ex-client database
 2      and will start informing them of the hidden margins you use as a business.
 3
        We will start with Germany and then move onto the U.S. and Australia
        within a few weeks. You have already seen the problems that will arise,
 4      unhappy clients, lawsuits and unhappy sales staff.
 5
     Glennon Decl. Ex. A, pp. 8-9 (¶ 32) and p. 10. Defendants have never disclaimed
     the above threats.
 6
 7
           ReachLocal took Defendants’ threat seriously and began to prepare for the

 8
     onslaught of negative propaganda. Glennon Decl. Ex. I, p. 6 (¶ 8) and pp. 54-55

 9
     (120:5-121:21). Sharon Rowlands worked with ReachLocal’s General Counsel,

10
     Tenlay Naliboff, and Chief Strategy Officer, Paras Maniar, to develop ReachLocal’s
     internal and external response to Defendants’ campaign. Glennon Decl. Ex. G, p. 2
11
12
     (¶¶ 2-3), Ex. H, Ex. J, p. 2 (¶ 3), Ex. L, p. 3(¶ 6). On January 10, 2016, a
     communication from Ms. Rowlands was sent to all North American ReachLocal
13
14
     employees, explaining who Defendants were and providing talking points for the

15
     employees to use in the event Defendants contacted their clients. Glennon Decl. Ex.
     J, p. 2 (¶ 3) and pp. 7-8. ReachLocal directed its employees to inform Tenlay
16
17
     Naliboff and Amber Seikaly (in marketing and public relations) if their clients
     reported receiving communications from Defendants and to forward any emails or
18
19
     other documentation to a central file. Id.

20
           ReachLocal also engaged outside litigation counsel, Brown, Neri, Smith &

21
     Khan LLP (“BNSK”), to provide legal advice regarding ReachLocal’s potential

22
     legal claims, including trade secret misappropriation. Glennon Decl. L, pp. 3-4 (¶¶ 8-
     9). In January 2016, ReachLocal had approximately 17,000 current clients and
23
24
     75,000 ex-clients. Glennon Decl. Ex. B, p. 2 (¶ 4) [Seal Dkt. 101-2, pp. 86-87] and
     Ex. E, p. 3 (¶ 5). Information for these current and former clients was stored on a
25
26
     secure password-protected database (the “Database”). Glennon Decl. Ex. B, p. 2

27
     (¶ 4). ReachLocal created the Database over the previous ten years at considerable
     expense, and the Database is subject to policies and procedures designed to prevent
28
     its unauthorized or accidental disclosure. Glennon Decl. Ex. B, p. 2 (¶ 4), Ex. E, p.

                          MEMORANDUM OF POINTS AND AUTHORITIES
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 1   2 (¶ 3), Ex. F, p. 2 (¶ 3) and pp. 5-22. ReachLocal knew that a subset of its clients
 2   (approximately 4% of the Database) could be readily identified through publicly
 3   available means, but Defendants claimed to possess the entire current and former
 4   Database, which was not possible through proper means. Glennon Decl. Ex. B, pp.
 5   2-4 (¶¶ 5-12) [Seal Dkt. 86-1, pp. 42-44].
 6         As anticipated, Defendants carried through on their threats to contact
 7   ReachLocal’s clients. In January and early February, ReachLocal collected reports
 8   from former and current clients in the U.S., who had received disparaging
 9   communications about ReachLocal’s services from Defendants. Glennon Decl. Ex.
10   L, pp. 3-4 (¶ 9) and pp. 13-23. On February 11, 2016, ReachLocal filed a Complaint
11   against Defendants, which included claims for trade secret misappropriation and
12   tortious interference with contract. [Dkt. 1].
13         On March 11, 2016, ReachLocal filed an Amended Complaint, adding claims
14   for attempted extortion and declaratory relief. [Dkt 16]. Paragraph 24 of the
15   Amended Complaint states, “A subset of ReachLocal’s clients may be identified
16   using Internet searches. However, ReachLocal believes there is no way to replicate
17   the entire client database (or former client database) using such means.” Id. ¶ 9.
18   This allegation has been validated by sworn testimony from ReachLocal’s Chief
19   Products Officer, Kris Barton. See Glennon Decl. Exs. B, p. 2 (¶ 4).
20         Instead of slowing Defendants down, the Amended Complaint galvanized
21   them. Reports from ReachLocal clients began pouring in from the U.S., Canada and
22   Australia. ReachLocal suspected that Defendants were using an email marketing
23   service to send automated emails to untold numbers of ReachLocal clients. Glennon
24   Decl. Ex. L, pp. 6-7 (¶¶ 17-19) and pp. 13-157 [Seal Dkt. 125-1]. Some clients
25   reported receiving multiple emails in a week. Many clients expressed distress:
26   • Client 7 wrote to ReachLocal: “I forwarded this email I received (below) last
27      week and was wondering if you had any insight into these accusations”;
28


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 1   • Client 8 wrote: “Care to explain yourself? First pause and marinate for a second
 2         on the irony of her clicking on a reachlocal ad to get to our site to ask us to
 3         sue reach local…”;
 4   • Client 11 wrote to Sharon Rowlands: “Please explain why we were charged
 5         ~A$28,000 (ex GST) for our campaign when your own reporting indicates that
 6
           only A$12,546.04 was actually only spent by ReachLocal”;
 7
     • Client 36 wrote: “???????”;
 8
     • Client 16 wrote: “Do I need to be worried about this?” (Id., p. 67);
 9
     • Client 37 wrote: “Whaa???:”;
10
     • Client 32 wrote: “can you please explain why I am getting emails saying only
11
           half the money I spent with you went to my ppc campane [sic]. I spent thousands
12
           of dollars. And now virtually out of business because of the lack of clients I got
13
14
           from PPC.”

15       Id.

16             By the time ReachLocal moved for a preliminary injunction, ReachLocal had
17   collected reports from a total of 30 North American and Australian clients and
18   former clients who Defendants contacted. Glennon Decl. Ex. A, pp. 5-7 (¶¶ 16-26).
19   ReachLocal’s agency partner, Compass Point, reported that one of those clients,
20   InLight Gobos (“InLight”), was considering cancelling its contract. Glennon Decl.
21   Ex. I, pp. 5-6 (¶¶ 11-16), pp. 11-25 and pp. 49-53 (115:22-119:3) [Seal Dkt. 125-1],
22   Ex. J, p. 3(¶ 5).3

23             After the Court granted the Preliminary Injunction, ReachLocal collected
24   more voluntary reports from its clients4 and learned that InLight cancelled its

25
     3
26      ReachLocal initially reported a second client, GoMow, cancelled as a result of
     Defendants’ communications. After engaging in discovery, ReachLocal determined
27   it would not seek lost profits from the cancellation of the GoMow contract. [Naliboff
28   Decl. Exs. A and B (ReachLocal’s Supplemental AEI Rule 26 Initial Disclosures).]
     4
       Although these reports were made after the injunction was granted, they involved
     communications received prior to the imposition of the TRO.
                          MEMORANDUM OF POINTS AND AUTHORITIES
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 1   contract. Glennon Decl. Ex. I, pp. 5-6 (¶¶ 11-16) and pp. 11-25, 42, Ex. L, p. 8 (¶ 27).
 2   ReachLocal served Initial Disclosures on July 15, 2016. Declaration of Tenlay
 3   Naliboff in Support of ReachLocal’s Motion (“Naliboff Decl.”) ¶2 and Ex. A.
 4   ReachLocal disclosed its computation of damages, which was based on lost profits
 5   from the cancelled contract and increased costs associated with the time ReachLocal
 6   spent to address and mitigate the harm from Defendants’ communications. Id.
 7         B.     Defendants Disrupted ReachLocal’s Client Relationships.
 8         Until August 29, ReachLocal suspected that Defendants contacted far more of
 9   its customers than the 35 that voluntarily reported receiving emails from PPC Claim.
10   Glennon Decl. Ex. I, p. 7 (¶ 18) and pp. 49-53 (115:22-119:14) [Seal Dkt. 125-1].
11   Through discovery, ReachLocal confirmed its reasonable suspicion. ReachLocal
12   now knows that Defendants sent emails to over 700 addresses associated with
13   ReachLocal clients through an email marketing service called iContact. Glennon
14   Decl. Ex. D, pp. 8-9 (¶ 28).
15         Using the iContact information, ReachLocal has identified two more clients
16   that terminated their contracts with ReachLocal because of the emails they received
17   from Defendants. Glennon Decl. Ex. K, pp. 6-7 (¶¶ 22, 29), pp. 10-12 and 50-52.
18   A. R. testified: “When I read the emails from PPC Claim and learned there were
19   many other companies having issues with ReachLocal, I was assured that P.C. was
20   not alone. The emails solidified my concerns about continuing the contract for
21   ReachLocal’s services and helped to finalize my decision to cease P.C.’s contractual
22   relationship with ReachLocal.” Glennon Decl. Ex. K, pp. 6-7 (¶ 22) and pp. 10-12.
23   B.P. of G. S. testified that he had the same reaction to Defendants’ emails, which
24   arrived as he was in the process of evaluating ReachLocal’s services. Glennon Decl.
25   Ex. K, pp. 6-7 (¶ 29) and pp. 50-52.
26         ReachLocal calculates its lost profits from the cancelled contracts to be
27
28


                        MEMORANDUM OF POINTS AND AUTHORITIES
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 1   $25,187.40. Naliboff Default Decl. ¶¶ 2-5 and Exs. A-B.5 Those calculations were
 2   disclosed in ReachLocal’s Supplemental Attorneys’ Eyes Only Initial Disclosures
 3   (“Supplemental AEI Disclosures”). Id. ReachLocal also calculates the value of the
 4   resources devoted to the retention of clients who reported receiving communications
 5   from Defendants to be $40,903.85. Naliboff Default Decl. ¶6 and Exs. A-B.
 6         C. ReachLocal’s Attorneys’ Fees.
 7         Over the past three years, ReachLocal incurred $578,512.04 in attorneys’ fees
 8   from this litigation. Glennon Default Decl. ¶¶ 26, 30. A substantial portion of
 9   ReachLocal’s fees totaling $169,312.20 were incurred defending Defendants’
10   premature motion for summary judgment (“MSJ”) and frivolous Rule 11 motion.
11   Glennon Decl. ¶ 26. ReachLocal sought to recover $41,200 in attorneys’ fees for its
12   defense of Defendants’ Rule 11 motion. [Dkt. 123, p. 25]. The MSJ and Rule 11
13   motion were under submission at the time of default.
14         ReachLocal also incurred $178,739.04 in attorneys’ fees associated with
15   ReachLocal’s efforts to obtain discovery from Defendants. Glennon Decl. ¶ 26.
16   ReachLocal served written discovery on Defendants and spent $20,070 in
17   connection with its motion to compel further responses to those requests. [Dkt. 111,
18   p. 5]. ReachLocal also defended the deposition of its CEO, interviewed and deposed
19   clients affected by Defendants emails, subpoenaed Google for information related to
20   this case, travelled to London to take Defendants deposition and moved for sanctions
21   in the amount of $15,100 when Cassidy failed to appear at his deposition and was
22   obstructive during the deposition of PPC Claim. Glennon Decl. ¶ 26 and [Dkt. 134,
23   p. 15].
24         ReachLocal also moved to enforce the TRO, PI, and Protective Order in this
25   Action multiple times when Cassidy violated their terms at a cost of $64,323.68.
26   Glennon Decl. ¶ 26 and [Dkts. 162 and 174]. ReachLocal spent $36,150 on its
27
28
     5
      Pursuant to the Stipulated Protective Order between the parties [Dkt. 76],
     ReachLocal applied to seal information in its filings to protect its clients’ identity.
                        MEMORANDUM OF POINTS AND AUTHORITIES
                                                7
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 1   motion for reconsideration of this Court’s dismissal of its case for want of
 2   prosecution and $78,694 on its successful appeal of the same. Glennon Decl. ¶ 26.
 3   III.   ARGUMENT
 4          A.    The Court’s Order Striking Defendants’ Answer and Ordering
 5                Entry of Default.

 6          By order of this Court on April 12, 2019, Defendants’ Answer [Dkt. 196] was
 7   stricken from the record and the clerk was ordered to enter default against PPC Claim
 8   and Kieran Paul Cassidy. The Court’s Order cited Rule 55(a) as the basis for its
 9   Order. The Ninth Circuit has previously held that a Court must have wide latitude
10   to enter default pursuant to Rule 55(a) where defendant fails to participate in the
11   litigation. Ringold Corp. v. Worrall, 880 F.2d 1138, 1141-42 (9th Cir. 1989).
12          B.    Legal Standard for Default Judgment.
13          After default has been entered against a party, a district court may grant an
14   application for default judgment in its discretion. See Fed. R. Civ. P. 55(b)(2). If the
15   court is satisfied that jurisdiction is proper and that service of process upon the
16   defendant was adequate, it then considers several factors in determining whether to
17   grant default judgment: (1) the possibility of prejudice to the plaintiff, (2) the merits
18   of plaintiff's substantive claim, (3) the sufficiency of the complaint, (4) the sum of
19   money at stake in the action, (5) the possibility of a dispute concerning material
20   facts, (6) whether the default was due to excusable neglect, and (7) the strong policy
21   underlying the Federal Rules of Civil Procedure favoring decisions on the merits.
22   Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986). In making its decision,
23   the court takes all factual allegations in the complaint, except those relating to
24   damages, as true. TeleVideo Sys., Inc. v. Heidenthal, 826 F.2d 915, 917-18 (9th Cir.
25   1987) (citing Geddes v. United Fin. Grp., 559 F.2d 557, 560 (9th Cir. 1977)); see
26   also Fed. R. Civ. P. 8(b)(6) (“An allegation—other than one relating to the amount
27   of damages—is admitted if a responsive pleading is required and the allegation is
28   not denied.”).


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 1         C.     The Requirements of Jurisdiction and Notice are Satisfied.
 2         This Court’s jurisdiction and the notice requirements are satisfied where
 3   Defendants answered ReachLocal’s Amended Complaint [Dkt. 36] and engaged in
 4   discovery and motion practice in this Court for nearly two years before their counsel
 5   withdrew. Neither Defendant made any further appearances in this Action. PPC
 6   Claim is currently unrepresented, but PPC Claim is responsible for keeping track of
 7   the progress of the case and to enter the appearance of replacement counsel. Ringold,
 8   supra, 880 F.2d at 1141-42 (“Even before appellants’ counsel withdrew, they had a
 9   duty to keep track of the progress of the case… Once counsel withdrew, their duty
10   to keep track of their lawsuit became that much greater.”). Actual notification of
11   PPC Claim is established because Cassidy receives all ECF notifications. He is the
12   majority shareholder and Head of Operations at PPC Claim. Amend. Compl. ¶¶ 15,
13   27. The Notice of this Motion was electronically filed, thereby providing sufficient
14   notice to both Defendants under Federal Rule 55(B)(2).
15         Defendants also had notice of the nature and amount of the damages claimed
16   by ReachLocal.     The Amended Complaint seeks compensatory damages and
17   injunctive relief, punitive damages and attorneys’ fees, which are authorized by the
18   USTA and California’s Civil Code. Cal. Civ. Code §§ 3426.2-3426.3 (USTA); Cal.
19   Civ. Code §§ 3344 and 3294 (compensatory and punitive damages). ReachLocal
20   disclosed its calculation of its compensatory damages in its initial disclosures.
21   Naliboff Default Decl. Exs. A-B. The total amount of ReachLocal’s attorneys’ fees
22   could not be determined until the litigation was completed; however, Defendants did
23   know the amounts of attorneys’ fees and costs ReachLocal incurred in connection
24   with its discovery motions and its defense of the Rule 11 Motion.
25         D.     Eitel Factors Weigh in Favor of Granting Default Judgment.
26                1.    Factor 1: ReachLocal Will Be Seriously Prejudiced if Default
27                      Judgment is not Granted in Its Favor.
28         The first Eitel factor weighs in favor of ReachLocal where Defendants have
     expressed their desire to resume their campaign of harassment against ReachLocal.
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 1   Glennon Decl. Ex. N, p. 2 (¶ 4) and pp. 11-12. Without Court action, ReachLocal
 2   will not be compensated for its loss and Defendants will not be enjoined by the
 3   preliminary injunction, resulting in more harm to ReachLocal’s business.
 4                2.     Factors 2 and 3: The Merits of ReachLocal’s Substantive
 5                       Claims and Sufficiency of its Complaint.

 6         The second and third Eitel factors, in combination, ask whether ReachLocal’s
 7   Amended Complaint is sufficient and whether the allegations in the Amended
 8   Complaint, along with other judicially noticed facts or evidence augmented to the
 9   record, show that ReachLocal is likely to succeed on the merits. Elec. Frontier
10   Found. v. Glob. Equity Mgmt. (SA) Pty Ltd. (“Elec. Frontier”), 290 F. Supp.3d 923,
11   940-41 (N.D. Cal. 2017). Because the second and third factors are so closely related,
12   Courts often examine them together. Id., citing Craigslist, Inc. v. Naturemarket, Inc.,
13   694 F.Supp.2d 1039, 1055, 1060 (N.D. Cal. 2010).
14         In granting ReachLocal’s motion for a preliminary injunction, this Court
15   previously ruled that ReachLocal is likely to succeed on the merits. [Dkt. 46]. The
16   Ninth Circuit agreed with that conclusion when it granted ReachLocal’s motion to
17   restore this Court’s preliminary injunction, pending ReachLocal’s appeal in this
18   matter. Those Orders were focused on ReachLocal’s trade secret misappropriation
19   and interference claims. Below, ReachLocal sets forth the allegations and evidence
20   supporting the sufficiency and merits of all of its claims.
21                       a)     Trade Secret Misappropriation.
22         In order to state a claim under the California Uniform Trade Secrets Act
23   (“UTSA”), a plaintiff must allege “facts sufficient to show 1) the existence of
24   subject matter which is capable of protection as a trade secret; 2) that the secret was
25   disclosed to the defendant under circumstances giving rise to an obligation not to
26   use or disclose the secret to the detriment of the disclose, and 3) the defendant either
27   used the trade secret or disclosed it to a third party.” MedioStream, Inc. v. Microsoft
28   Corp., 869 F.Supp.2d 1095, 1112-13 (N.D. Cal. 2012) (citing GlobeSpan, Inc. v.
     O’Neill, 151 F.Supp.2d 1229, 1235 (C.D. Cal. 2001). The Amended Complaint
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 1   alleges that ReachLocal’s Database is a trade secret within the meaning of the
 2   USTA and that Cassidy both acquired the information through improper means and
 3   used it without ReachLocal’s consent. Amend Compl. ¶¶ 48-53. The record in this
 4   case includes credible evidence supporting each of those allegations.
 5                        i)       ReachLocal’s Client Database is a Trade Secret.
 6         Information constitutes a trade secret so long as it “derives independent
 7   economic value, actual or potential, from not being generally known to the public or
 8   to other persons who can obtain economic value from its disclosure or use.’”
 9   Altavion, Inc. v. Konica Minolta Sys. Lab. Inc., 226 Cal.App.4th 26, 62 (Ct. App.
10   2014). In other words, the information alleged to constitute a trade secret “is
11   valuable because it is unknown to others.” DVD Copy Control Assn. v. Bunner, 116
12   Cal.App.4th 241, 251 (Ct. App. 2004).
13         In California, customer lists have been protected as trade secrets even when
14   some of the customers are readily ascertainable by others in the business. Klamath-
15   Orleans Lumber, Inc. v. Miller, 87 Cal. App. 3d 458, 464-65 (Ct. App. 1978)
16   (“although the identity of some of plaintiff’s customers may have been easily
17   ascertainable by competitors, it cannot be said that the entire or even a majority of
18   the customers scattered throughout the nation were readily accessible to defendants
19   here.”); Pyro Spectaculars N., Inc. v. Souza, 861 F. Supp. 2d 1079, 1090 (E.D. Cal.
20   2012) (citing with approval, Fireworks Spectacular, Inc. v. Premier Pyrotechnics,
21   Inc., 147 F. Supp. 2d 1057, 1066 (D. Kan. 2001) (customer list a trade secret because
22   plaintiff spent significant time and expense creating list, “including hundreds of
23   hours of ‘cold-calling.’”).
24         Courts engage in a fact-specific inquiry to determine the issue of “readily
25   ascertainable,” focusing on whether the protected information can be duplicated
26   through proper means, the time and effort necessary to duplicate the protected
27   information, and the time and effort exerted compiling the information in the first
28   place by party seeking protection. Abba Rubber Co., 235 Cal. App. 3d at 21-22 at fn
     9; San Jose Constr., Inc., 155 Cal.App.4th at 1542-43.
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 1         The evidence in the record, including Defendants’ own evidence, proves that
 2   ReachLocal’s Database is not “readily ascertainable.”          ReachLocal invested
 3   substantial time and resources compiling its former and current client database.
 4   Glennon Decl. Ex. A, p. 3 (¶ 12). ReachLocal protects the secrecy of its client
 5   database through a variety of means. Id. (¶ 13). ReachLocal avers that it would be
 6   substantially onerous, impracticable and improper to discover any significant
 7   portion of its current client database through public means, requiring millions of
 8   searches, run at different times of the day, across multiple search platforms. Glennon
 9   Decl. Ex. B, p. 3 (¶ 6) [Seal Dkt. 101-2, 00. 86-87]. And finally, ReachLocal avers
10   that it is impossible to discover through public means more than a handful of its
11   former customer identities, who comprise the significant majority of the entire
12   database. Id., Ex. B, p. 4 (¶ 11).
13         Given the allegations in the Amended Complaint that ReachLocal derives
14   independent value from the fact that its Database is not generally known to the public
15   and considering the evidence of record, which demonstrates the Database is not
16   readily ascertainable through proper means, ReachLocal has sufficiently pled the
17   first element of trade secret misappropriation and established it is likely to succeed
18   on the merits.
19                         ii)   ReachLocal Presented Strong Circumstantial Evidence
20                               of Misappropriation.

21          The record also includes strong circumstantial evidence that Defendants
22   obtained ReachLocal’s Database (or some portion thereof) through improper means.
23   That evidence includes Defendants repeated claims that they possess ReachLocal’s
24   “entire client and ex client database,” testimony from ReachLocal’s Chief Products
25   Officer who explained only 4% of that Database is readily ascertainable and that it
26   would be impossible to replicate the entire Database through public means,
27   Cassidy’s statements that he was helped by current and former ReachLocal
28   employees, emails sent to 700 of ReachLocal’s current and former clients (only 8 of
     which were in the 4% subset of readily identifiable clients), Defendants admission
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 1   that they possessed a list of “tens of thousands of clients” they had not and would
 2   not produce and Defendants refusal to answer deposition questions regarding the
 3   means by which they obtained that list. See Glennon Decl. Ex. B, pp. 7-8 (¶ 32) and
 4   p. 13, Ex. C, p. 2 (¶ 4), Ex. L, p. 4 (¶ 3) and p. 11, Ex. M, p. 7 (¶ 24) and pp. 21-29
 5   (PPC Claim Depo. 251:24-254:13, 263:16-264:11, 265:1-267:15), Ex. N, p. 2 (¶ 3)
 6   and pp. 8-9 (PPC Claim Depo. 191:10-12, 202:13-24).
 7         Considering all the evidence together with Defendants’ discovery misconduct,
 8   ReachLocal has strong support for its claim that Defendants misappropriated
 9   ReachLocal’s Database (or some portion thereof):
10
           “It is well recognized with respect to trade secrets ... [that] misappropriation
11         and misuse can rarely be proved by convincing direct evidence. In most
           cases, plaintiffs must construct a web of perhaps ambiguous circumstantial
12         evidence from which the trier of fact may draw inferences which convince
           him that it is more probable than not that what plaintiffs allege happened did
13         in fact take place. Against this often delicate construction of circumstantial
           evidence there frequently must be balanced defendants and defendants’
14         witnesses who directly deny everything.”
15   Gable-Leigh, Inc. v. N. Am. Miss, 2001 WL 521695, at *17 (C.D. Cal. 2001)
16   (granting preliminary injunction).
17         Given the allegations in the Amended Complaint and the evidence in the
18   record, ReachLocal has sufficiently pled and established the merits of its claim that
19   Defendants misappropriated its trade secrets.
20
                         b)    Intentional Interference with Contractual Relations.
21
           A claim for interference with contractual relationship requires (1) a valid
22
     contract between the plaintiff and a third party, (2) defendant's knowledge of this
23
     contract, (3) intentional acts by a defendant designed to induce the disruption of the
24
     contractual relationship and (4) actual disruption of the contractual relationship
25
     resulting in damage. Quelimane Co. v. Stewart Title Guaranty Co., 19 Cal.4th 26,
26
     55 (1998). The existence of a valid contractual relationship is alleged in the
27
     Amended Complaint and supported by evidence presented by ReachLocal in
28


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 1   opposition to Defendants MSJ. See Amend Compl. [Dkt. 16] ¶¶ 54-62; Glennon
 2   Decl. Ex. A, p. 9 (¶ 34) and p. 11-21.
 3         The second two elements are supported by the allegations in the Amended
 4   Complaint and evidence regarding Cassidy’s email communications with
 5   ReachLocal’s CEO, threatening to disrupt ReachLocal’s client relationships unless
 6   it reached an agreement/arrangement with Defendants. Amend. Compl. ¶¶ 11 and
 7   31; Glennon Decl. Ex. A, pp. 8-9 (¶ 32) and p. 10, Ex. L, p. 2 (¶ 3) and p. 11. Those
 8   damages were demonstrated by the allegations and evidence that ReachLocal was
 9   forced to expend significant resources to mitigate the impact of Defendants’ conduct
10   and in responding to its clients’ concerns. Amend. Compl. ¶¶ 36-40, 47; Naliboff
11   Decl. Exs. A-B (ReachLocal’s initial disclosures and supplemental initial
12   disclosures); Glennon Decl. Ex. G, p. 3 (¶ 6), Ex. J, p. 2 (¶ 3), Ex. L, p. 3(¶ 6) and
13   pp. 13-157. ReachLocal calculated the cost of its internal response to be $40,903.85.
14   Naliboff Default Decl. ¶¶ 2-6 and Exs. A-B. Despite ReachLocal’s efforts to
15   mitigate the results of Defendants’ harassment, three of its clients cancelled their
16   contracts as a result of Defendants’ conduct. ReachLocal calculated the lost profits
17   from those cancelled contracts to be $29,980. Id.
18                      c)     Intentional Interference with Prospective Economic
19                             Advantage.

20         ReachLocal’s claim for intentional interference with prospective economic
21   advantage requires proof of (1) an economic relationship with a third party with the
22   probability of future economic benefit to the plaintiff, (2) defendant’s knowledge of
23   that relationship, (3) intent to disrupt the same and (4) damages. ReachLocal must
24   also prove that the Defendants’ action was wrongful apart from the interference
25   itself. Korea Supply Co. v. Lockheed Martin Corp., 29 Cal.4th 1134, 1153–1154
26   (2003). The first element is alleged in the Amended Complaint and supported by
27   evidence that ReachLocal’s former clients are also considered prospective clients
28   because ReachLocal frequently “wins-back” clients who cancel or fail to renew their
     contracts. Amend. Compl. [Dkt. 16] ¶¶ 63-68; Glennon Decl. Ex. D, p. 11 (¶ 34)
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 1   and pp. 20-22. ReachLocal also presented evidence that Defendants did contact at
 2   least one former/prospective client. Glennon Decl. Ex. A, p. 5 (¶ 16). The second,
 3   third and fourth elements are again established by Cassidy’s emails to ReachLocal
 4   and the evidence that ReachLocal was forced to expend additional resources to
 5   respond internally and externally to Defendants’ campaign of harassment. Finally,
 6   the requirement of independent wrongfulness is established by the allegations and
 7   evidence of trade secret misappropriation set forth above.
 8                        d)   Violation of Business and Professions Code §17200.
 9         ReachLocal has alleged and substantial evidence supports the fact that
10   Defendants engaged in unfair and deceptive business practices within the meaning
11   of California Business and Professions Code §17200 by misappropriating
12   ReachLocal’s Database, threatening to disrupt ReachLocal’s business relations by
13   using the list to contact ReachLocal’s clients and spread false and misleading
14   accusations that ReachLocal was ripping them off and then carrying out that threat
15   when ReachLocal did not give in to Defendants’ demands. Amend. Compl. [Dkt.
16   16] ¶¶ 69-71; supra, Sections III(D)(2)(a-c).
17                        e)   Attempted Extortion Claim.
18         To prove attempted extortion, ReachLocal only has to show that Defendants
19   intended to extort money or property from it. Monex Deposit Co. v. Gilliam, 680
20   F. Supp. 2d 1148, 1156 (C.D. Cal. 2010). As alleged in the Amended Complaint
21   and established by evidence presented on Summary Judgment, Defendants
22   demanded ReachLocal get back to them within a week with an acceptable
23   arrangement/agreement or else they would create problems with ReachLocal’s
24   clients and staff. Amend. Compl. [Dkt. 16] ¶¶ 72-76; Glennon Decl. Ex. A, p.7-8
25   (¶ 32) and p. 10. This demand more than suffices to show Defendants’ intended to
26   extort ReachLocal.
27
28


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 1                       f)     Declaratory Relief
 2         Finally, ReachLocal’s cause of action for declaratory relief, alleged at
 3   Paragraphs 77-83, seeks a declaration that Kieran Cassidy was acting as the director
 4   of PPC Claim in violation of the order of disqualification from the British Insolvency
 5   Service for misleading the public. The Amended Complaint alleges, Cassidy is the
 6   Head of Operations at PPC Claim and has been acting as a director of the company.
 7   Amend. Compl. ¶¶ 25-27 and Exs. 9-10. During the deposition of PPC Claim,
 8   Cassidy – who served as the 30(b)(6) designee for PPC Claim – refused to answer
 9   any questions regarding the organization of PPC Claims. Glennon Decl. Ex. M, p.
10   7 (¶ 23) and pp. 16-19 (68:15-69:9, 70:20-74:4). Taking the allegations in the
11   Amended Complaint as true and considering Cassidy’s refusal to answer
12   ReachLocal’s questions regarding his role at PPC Claim, the sufficiency of
13   ReachLocal’s pleading and the merits of ReachLocal’s cause of action for
14   declaratory relief are strong.
15                3.     Factor 4: ReachLocal’s Monetary Demands are Reasonable.
16         The fourth Eitel factor examines the amount of money at stake in relation to
17   the seriousness of Defendants’ conduct. Elec. Frontier, supra p. 13, 290F.Supp.3d
18   923, 947 (N.D. Cal. 2017). A significant part of the relief requested by ReachLocal
19   is injunctive. The amount of the compensatory damages by ReachLocal is relatively
20   small compared to Defendants’ misconduct. ReachLocal invested substantial time
21   and resources to create its Database. When Cassidy threatened to use that Database
22   to interfere with ReachLocal’s business, ReachLocal acted swiftly to obtain a
23   preliminary injunction. Its lost profits were mitigated as a result of those efforts.
24   ReachLocal is also seeking to recover its attorneys’ fees pursuant to Section 3426.4
25   of the USTA. The amount of those fees is governed by Local Rule 55-3 and the
26   lodestar analysis provided in Section III(E)(3) of this Motion.
27                4.     Factor 5: There is no Dispute Regarding Material Facts.
28         The papers filed by the parties in connection with Defendants MSJ and Rule
     11 Motion set forth two key disputes between the parties.
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 1         First, Cassidy claimed he obtained ReachLocal’s entire client and ex-client
 2   database by purchasing lists from third parties and performing searches on the
 3   Internet. This is a factual dispute, however, ReachLocal countered Defendants claim
 4   with evidence proving that Cassidy could not have replicated ReachLocal’s
 5   Database as he described. Defendants produced no documents to support their claim
 6   that Cassidy performed thousands of internet searches or purchased lists from third
 7   parties. Indeed, Cassidy refused to produce the client list in his possession and
 8   engaged in other obstructive discovery misconduct.           Accordingly, although
 9   Defendants continue to proclaim that they obtained ReachLocal’s client list through
10   publicly available means, it is unlikely Defendants would produce any direct
11   evidence to support Cassidy’s testimony after the MSJ, Rule 11 Motion and
12   discovery process afforded them the opportunity to do so.
13         Second, Defendants argued ReachLocal did not lose any clients as a result of
14   their communications. ReachLocal does not have to establish it lost any clients in
15   order to prevail on its interference claims. ReachLocal only needs to establish the
16   interference made those contracts more burdensome for ReachLocal and
17   ReachLocal amassed substantial evidence that its clients were upset by Defendants’
18   claims and that ReachLocal devoted substantial resources to retaining affected
19   clients and responding to Defendants both internally and externally. That evidence
20   is undisputed. Further, the testimony from ReachLocal’s former clients and the
21   evidence regarding InLight’s communications with ReachLocal’s agency partner are
22   not in dispute. The parties simply have different views of that evidence. The Court
23   may review the evidence itself and determine whether ReachLocal has presented
24   sufficient proof in support of its motion for default judgment awarding ReachLocal
25   the lost profits associated with those accounts.
26                5.    Factor 6: The Default is not Due to Excusable Neglect.
27         The record in this case is clear. Defendants pursued a costly scorched earth
28   litigation strategy designed to obstruct ReachLocal’s access to the evidence in their
     possession and drive up ReachLocal’s litigation costs with frivolous summary
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 1   judgment and Rule 11 motions. Defendants also forced a motion to compel further
 2   discovery, withholding documents until two days after ReachLocal presented them
 3   with its portion of the joint stipulation and failing to appear and testify properly after
 4   ReachLocal travelled to London to take Defendants’ deposition. ReachLocal was
 5   not deterred by this strategy.        ReachLocal amassed substantial evidence in
 6   opposition to the MSJ and Rule 11 Motion and stood ready to try its case upon
 7   remand from the Ninth Circuit. Even though Defendants’ counsel subsequently
 8   withdrew, Cassidy receives ECF notifications of all filings and orders in this Action.
 9   This Court gave Defendants notice that they faced default if PPC Claim did not file
10   an appearance for replacement counsel. Defendants’ failure to heed this Court’s
11   warnings can only be interpreted as their intentional abandonment of their defense
12   to ReachLocal’s claims.
13                6.     Factor 7: The Policy Favoring Resolution on the Merits.
14         ReachLocal acknowledges the strong public policy favoring resolution on the
15   merits, but PPC Claim cannot proceed in this Action without counsel, and Cassidy’s
16   conduct during the London depositions suggest it is extremely unlikely that he would
17   travel to the United States to attend a trial on ReachLocal’s claims. Notably, given
18   the posture of this case, Defendants could have retained counsel at very little
19   additional cost to appear on their behalf with respect to the fully briefed motions that
20   were pending before this Court. The resolution of those motions would have
21   informed all parties with respect to strength of ReachLocal’s claims and evidence
22   and could have led to productive settlement discussions – again at little additional
23   cost to Defendants. Defendants’ failure to see their own motions to conclusion and
24   refusal to appear prevented a decision on the merits of those motions and on
25   ReachLocal’s claims. Craigslist, Inc. v. Naturemarket, Inc., 694 F.Supp.2d 1039,
26   1061 (N.D. Cal. 2010) (the sixth Eitel factor weighs in favor of default where
27   defendant’s failure to appear rendered a decision on the merits impossible).
28                7.     Summary of the Eitel Factors
           Because all six of the Eitel factors weigh in favor of default judgment,
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 1   ReachLocal now turns to the requested damages and injunctive relief.
 2         E.     Remedies.
 3                1.     Injunctive Relief
 4         The USTA provides that actual or threatened misappropriation may be
 5   enjoined. Cal. Civ. Code § 3426.2(a). Am. Credit Indem. Co. v. Sacks, 213 Cal. App.
 6   3d 622, 625 (1989) (plaintiff entitled to injunctive relief where the use of its customer
 7   list to solicit plaintiff’s customers constituted misappropriation of plaintiff’s trade
 8   secrets). This Court has already issued a PI that is narrowly tailored to stop
 9   Defendants from their continuing use of ReachLocal’s trade secrets and their
10   interference with ReachLocal’s contractual relationships and prospective economic
11   advantage. The Court’s Order granting the PI states as follows:
12
         Defendants PPC Claim Limited and Keiran Paul Cassidy are hereby enjoined
13       from further communicating to ReachLocal clients, employees, or investors,
14       either through direct communications, mass mailings, or otherwise, whether
         through regular paper copies or electronic through email, LinkedIn, or any
15       other website; Description of Injury and why irreparable: ReachLocal will
16       incur irreparable harm to its goodwill and reputation.
17
     ReachLocal requests the Court enter a permanent injunction.
18
                  2.     Monetary Damages.
19
           ReachLocal has presented the declaration of its in-house counsel, Tenlay
20
     Naliboff, who coordinated ReachLocal’s response to Defendants’ campaign of
21
     harassment. Mr. Naliboff provided evidence regarding the monthly revenues for
22
     each of the three lost contracts and the operating profit margin for those contracts.
23
     Naliboff Decl. ¶ 5. ReachLocal assumes those contracts would have continued for
24
     three more years if Defendants had not intervened, based on the average life cycle
25
     for its clients. Naliboff Decl. Exs. A and B; Id. ¶ 5. Lost profits were then calculated
26
     according to the following formula: Operating profit (%) x Monthly revenues x 36
27
     months = Lost profits. The total amount of lost profits was, therefore, determined to
28
     be $29,980. Id. ¶ 5 and Exs. A-B.

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 1         Mr. Naliboff also provided evidence of the time and rate for each ReachLocal
 2   officer and employee who devoted remedy the impact of Defendants’ conduct. The
 3   costs associated with those efforts was calculated by multiplying the time spent by
 4   the implied hourly rate which equaled $40,903.85. Id.
 5                3.     Attorneys’ Fees.
 6         The Court may consider ReachLocal’s motion for attorneys’ fees if the Court
 7   finds Defendants liable on ReachLocal’s trade secret misappropriation claim.
 8   Section 3426.4 of the USTA authorizes attorney’s fees, costs, and expert witness
 9   services where the Defendants are found guilty of willful and malicious
10   misappropriation. The allegations and evidence support such a finding here, where
11   Defendants actions were intentional and fueled by anger. Glennon Decl. Ex. O (PPC
12   Claim Deposition testimony at 181:12-183:4). Cassidy had no idea whether
13   ReachLocal was in fact ripping off its clients in the U.S. (Id. at 212:7-11). He was
14   upset that his efforts in the U.K. failed and he wanted to punish ReachLocal.
15         Local Rule 55-3 sets forth a schedule to determine the amount of attorneys’
16   fee awards on default. Local Rule 55-3 provides that an attorney claiming fees in
17   excess of the schedule may file a written request at the time of entry of default
18   judgment. ReachLocal contends that departure from the schedule is appropriate
19   here, where default was entered after two years of litigation (as opposed to following
20   the failure to answer or otherwise appear at all).
21         The lodestar method is the accepted method for determining a reasonable
22   attorneys’ fee award. See Earthquake Sound Corp. v. Bumper Indus., 352 F.3d 1210,
23   1214-15 (9th Cir. 2003). Under the lodestar method, a court must multiply the
24   number of hours reasonably expended on the litigation by the reasonable hourly rate.
25   Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). Once calculated, the lodestar rate
26   may be adjusted to account for other factors. Morales v. City of San Rafael, 96 F.3d
27   359, 362 n. 9 (9th Cir. 1996).
28         In evaluating reasonable hourly rates for attorneys’ and paralegals, Courts
     often look to the so-called “Laffey matrix,” which rates are set forth below:
                       MEMORANDUM OF POINTS AND AUTHORITIES
                                               20
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 1                         BNSK Attorney Rates And Total Hours
 2
       Attorney    Years out of    Rate 2016/17       Rate        Rate        Total Hours
 3
                   School                             2017/18     2018/19     2016-19
 4
       Khan        12-15           495                495         550         532
 5
       Brown       20-23           495                495         N/A         3
 6
       Glennon     17-20           350                350         425         670.3
 7
       Fricke      8-11            495                495         N/A         233.8
 8
       Eberwine 8-11               275                275         N/A         62.8
 9
       Barnes      2-5             200                225         350         501.4
10
       Warren      1-4             200                200         N/A         62.8
11
                                         Laffey Matrix
12
                   Years out of School          2016/17         2017/18     2018/19
13
                   1-3                          343             359         371
14
                   4-7                          421             440         455
15
                   11-19                        608             636         658
16
17
                   20+                          826             864         894

18
     Glennon Decl. ¶¶ 26-28; www.laffeymatrix.com.

19
           BNSK’s rates are objectively reasonable because they are below the rates in

20
     the Laffey matrix and Los Angeles is a comparable market for attorneys’ fees to the

21
     Washington/Baltimore market, which informs the Laffey matrix. The total number

22
     of hours per attorney is also reasonable given the contentious nature of this litigation.

23
     Glennon Decl. ¶¶ 26-29.        The total amounts of attorneys’ fees incurred by

24
     ReachLocal in this Action is $578,512.04. Glennon Decl. ¶ 29.

25
     IV.   CONCLUSION

26
           For the foregoing reasons, ReachLocal requests this Court grant this Motion

27
     and enter default judgment in accordance with the [Proposed] Default Judgment

28
     submitted concurrently herewith.


                         MEMORANDUM OF POINTS AND AUTHORITIES
                                                21
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 1   Dated: May 10, 2019               BROWN NERI SMITH & KHAN, LLP
 2                                     By:   /s/ Amjad M. Khan
 3                                           Amjad M. Khan
                                             Attorneys for Plaintiff,
 4                                           ReachLocal, Inc.
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                     MEMORANDUM OF POINTS AND AUTHORITIES
                                        22
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 1                           CERTIFICATE OF SERVICE
 2   I, Rowennakete P. Barnes, hereby declare under penalty of perjury as follows:
 3
          I am an attorney at the law firm of Brown Neri Smith & Khan, LLP,
 4
     with offices at 11601 Wilshire Boulevard,          Suite    2080, Los Angeles,
 5
     California   90025.   On     the   date   below,      I   caused   the   foregoing
 6
     REACHLOCAL INC.’S NOTICE OF MOTION AND MOTION FOR
 7
     DEFAULT JUDGMENT to be electronically filed with the Clerk of the
 8
     Court using the CM/ECF system which sent notification of such filing to
 9
     counsel of record.
10
11
12
     Executed on June 17, 2019.
13
14
15
16    /s/ Rowennakete P. Barnes
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                                   CERTFICATE OF SERVICE
